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           In the United States District Court
           for the Southern District of Georgia
                    Brunswick Division
THE STATE OF GEORGIA, and
GEORGIA DEPARTMENT OF
COMMUNITY HEALTH,

    Plaintiffs,
                                             2:22-CV-006
    v.

CHIQUITA BROOKS-LASURE,
in her official capacity as
Administrator of the Centers
for Medicare and Medicaid
Services, et al.,

    Defendants.


                                 ORDER

     The Court conducted a hearing today on the parties’ cross

dispositive motions. See Docket Entry of 5/17/2022; see also Dkt.

Nos. 13, 23, 43, 44. The record shall remain open for ten (10)

days for any additional submissions the parties wish to file on

the merits, and the parties are DIRECTED to file briefs within ten

(10) days addressing the propriety of remand without vacatur in

the event the Court finds the agency action in this case was

arbitrary, capricious, or contrary to law. See 5 U.S.C. § 706(2);

Black Warrior Riverkeeper, Inc. v. U.S. Army Corps. Of Eng’rs, 781

F.3d 1271, 1289-92 (11th Cir. 2015).
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 SO ORDERED this 28th day of June, 2022.



                             _________________________________
                             HON. LISA GODBEY WOOD, JUDGE
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA




                               2
